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                Exhibit 8
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HRSA
Health Resources &Services Administration

5600 Fishers Lane
Rockville, MD 20857


                                                             March 6, 2025

            Dear Hospital Administrators, Colleagues, and Grant Recipients:

            The behavioral health needs of children, youth, and their families are one of the Health
            Resources and Services Administration’s (HRSA) highest priorities. As you may know, the
            Department of Health and Human Services (HHS), through the Centers for Medicare and
            Medicaid Services (CMS) sent a Quality and Safety Special Alert Memo (QSSAM) yesterday,
            alerting providers to the dangerous chemical and surgical mutilation of children, including
            interventions that cause sterilization. The QSSAM reminds providers of their duty to serve all
            patients, especially children, with dignity and adherence to the highest standard of care that is
            informed by robust evidence and the utmost scientific integrity. The memo notes that the United
            States is now an outlier in the treatment of gender-dysphoria in children, as the United Kingdom,
            Sweden, and Finland have recently issued restrictions on the use of puberty blockers and cross-
            sex hormones for children.

            Moving forward, HRSA will review its policies, grants and programs in light of the concerns
            discussed in the QSSAM and may begin taking steps in the future to appropriately update its
            policies to protect children from chemical and surgical mutilation. HRSA will follow any
            applicable substantive and procedural requirements in taking any future action.

            HRSA’s review will include its Children’s Hospitals Graduate Medical Education (CHGME)
            Payment Program. In particular, HRSA will examine the $367.2 million that was awarded in
            fiscal year 2024 to 59 free-standing children’s hospitals nationwide in light of the concerns
            discussed in the QSSAM. HRSA may also consider re-scoping, delaying, or potentially
            cancelling new grants in the future depending on the nature of the work and any future policy
            change(s) HRSA may make.

            Thank you for your continued partnership with HHS and HRSA and for your cooperation as we
            work together to improve the health and well-being of the children of this country and to Make
            America Healthy Again. The QSSAM’s message to providers on the dangerous chemical and
            surgical mutilation of children, including interventions that cause sterilization, was informed by a
            growing body of evidence and protective policies in other developed countries. HRSA may
            begin taking steps to appropriately update its policies to protect children from chemical and
            surgical mutilation.

                                                             Sincerely,



                                                             Thomas J. Engels
                                                             Administrator


                                            Health Resources and Services Administration
                                                           www.hrsa.gov
